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                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                   §
 IN RE: CHESAPEAKE                                 §    CIVIL ACTION NO
 EXPLORATION, L.L.C.                               §    4:23-cv-03464
 (Market Enhancement Clause)                       §
                                                   §    JUDGE CHARLES ESKRIDGE
                                                   §
                                                   §
                                                   §

             MEC CLASS PLAINTIFFS’ STATEMENT CONCERNING POTENTIAL
                               RECONSIDERATION

            Pursuant to this Court’s Order of October 19, 2023 (Dkt. 2), the MEC Class Plaintiffs

respectfully provide their position concerning the effect of former Judge Jones’ resignation on

their appeal of an order entered by Judge Jones in this case. For the reasons set out below, the

MEC Class Plaintiffs prefer that their appeal of Judge Jones’s order proceed without remand to a

different bankruptcy court judge and reconsideration by a different judge.

            Plaintiffs’ position is largely driven by this case’s exceptionally long history. The MEC

Class refers to a class of lessors in Pennsylvania whose leases included a “Market Enhancement

Clause” (MEC). Certain of the class representatives originally reached a class settlement with

Chesapeake more than ten years ago in the Middle District of Pennsylvania. An amended

settlement was presented to the Court in Pennsylvania and preliminarily approved in 2015, only

to be delayed by objections from Pennsylvania’s Attorney General, and then derailed by

Chesapeake’s bankruptcy filing. The parties presented a revised settlement to Judge Jones in

March 2021, which he preliminarily approved, and the district court (Judge Rosenthal) finally

approved. An objector appealed the approval of the settlement, and the Fifth Circuit held that the

district court and bankruptcy court did not have subject matter jurisdiction over the settlement,

see Matter of Chesapeake Energy Corp., 70 F.4th 273, 280, 283 (5th Cir. 2023), and directed the



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district court to dismiss the settlement proceedings for lack of jurisdiction. Id. at 285. Judge

Rosenthal did so on July 13, 2023. In re Chesapeake Energy Corp., H-21-1215, Dkt. 83. The

Fifth Circuit was not presented with the question of the settlement’s enforceability or validity,

and did not rule on either issue.

            Thereafter, Class Counsel advised Chesapeake that the parties should submit the

settlement to the Middle District of Pennsylvania for approval. Chesapeake informed Class

Counsel, however, that Chesapeake would be walking away from the settlement. Chesapeake

then filed a motion in the bankruptcy court asking that Judge Jones declare the settlement to be

null and void. In response, the MEC Class Plaintiffs argued primarily that any questions

concerning the validity/enforceability of the settlement should be submitted to the Middle

District of Pennsylvania, and that because the Fifth Circuit ruled Judge Jones had no subject

matter jurisdiction to consider and approve the settlement, then Judge Jones likewise had no

subject matter jurisdiction to further consider the settlement and declare it null and void. Despite

the Fifth Circuit’s ruling, Judge Jones granted Chesapeake Energy’s motion on August 31, 2023.

The MEC Class Plaintiffs appealed.

            On behalf of their clients, Class Counsel were surprised and dismayed to learn of the

allegations against Judge Jones. It goes without saying that they would have preferred to have

litigated Chesapeake’s motion before a judge without conflicts. However, remand and

reconsideration would only add more delay to a case whose resolution has been far too long

delayed. Moreover, the parties created a record before Judge Jones that is sufficient for the

district court to rule on the legal questions presented by Plaintiffs’ appeal. Little would be gained

in litigating these legal questions again, particularly as this Court’s review of these issues is de

novo in either circumstance.




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            For these reasons, the MEC Class Plaintiffs respectfully request that their appeal of Judge

Jones’ order proceed without the need for additional proceedings.

                                           Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

            I certify that I have caused to be served a true and correct copy of the foregoing on

counsel of record via electronic case filing.

            Executed on this the 3rd day of November, 2023.

                                                           /s/ Daniel E. Seltz
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